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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

CONNIE HUSH, as guardian and natural    )   Judge James G. Carr
parent of minor daughter, K.C.          )
                                        )   Case No. 3:16-cv-01775
              Plaintiff,                )
                                        )   NOTICE OF DISMISSAL
vs.                                     )   WITH PREJUDICE
                                        )
CEDAR FAIR, L.P., et al.                )
                                        )
              Defendants.               )
                                        )
    Now comes Plaintiff Connie Hush, as guardian and natural parent of minor daughter

K.C., by and through the undersigned counsel, to give notice pursuant to the provisions of Ohio

Civil Rule 41(A)(1)(a), and dismiss with prejudice the within case with each party to bear its

own costs.

                                           Respectfully submitted,

                                           /s/ David A. Forrest
                                           David A. Forrest (0006673)
IT IS SO ORDERED.                          Audrey P. Forrest (of counsel) (0025622)
                                           JEFFRIES, KUBE, FORREST &
s/ James R. Knepp, II                      MONTELEONE CO. LPA
U. S. Magistrate Judge                     26021 Center Ridge Road, Suite 200
                                           Westlake, Ohio 44145
                                           (216) 771-4050
                                           (216) 771-0732 (fax)
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                                           /s/ Robert Zelvy
                                           Robert Zelvy (0032086)
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                                           Counsel for Plaintiff
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                                   CERTIFICATE OF SERVICE

        A copy of the foregoing Notice of Dismissal with Prejudice was filed electronically on this 2nd
day of October, 2017. Notice of this filing will be sent to all parties by operation of the Court's ECF
system. Parties may access the filing through the Court’s system.



                                               /s/ David A. Forrest
                                               DAVID A. FORREST (0006673)
                                               AUDREY P. FORREST (0025622)
                                               ROBERT ZELVY (0032086)

                                               Counsel for Plaintiff
